             Case 2:24-cv-01798-MJP         Document 15        Filed 02/24/25       Page 1 of 10



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 2

 3

 4                                                                    Honorable Marsha J. Pechman

 5                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 6                                           AT SEATTLE

 7 ZACHARY GRALING, an individual,                       No. 2:24-cv-01798-MJP

 8                    Plaintiff,                         [PROPOSED] STIPULATED
                                                         PROTECTIVE ORDER
 9           vs.

10 UNITED SERVICES AUTOMOBILE
   ASSOCIATION, aka USAA, a foreign
11 insurance company,

12                    Defendant.

13

14 1.        PURPOSES AND LIMITATIONS

             Discovery in this action is likely to involve production of confidential, proprietary, or
15
     private information for which special protection may be warranted. Accordingly, the parties hereby
16
     stipulate to and petition the court to enter the following Stipulated Protective Order. The parties
17
     acknowledge that this agreement is consistent with LCR 26(c). It does not confer blanket
18 protection on all disclosures or responses to discovery, the protection it affords from public

19 disclosure and use extends only to the limited information or items that are entitled to confidential

20 treatment under the applicable legal principles, and it does not presumptively entitle parties to file

21 confidential information under seal.

22

23

     PROTECTIVE ORDER – 1                                                 FORSBERG & UMLAUF, P.S.
     Case No. 2:24-cv-01798-MJP                                                   ATTORNEYS AT LAW
                                                                            401 UNION STREET • SUITE 1400
                                                                            SEATTLE, WASHINGTON 98101
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             Case 2:24-cv-01798-MJP          Document 15        Filed 02/24/25       Page 2 of 10



 1 2.        “CONFIDENTIAL” MATERIAL

 2           “Confidential” material shall include the following documents and tangible things

     produced or otherwise exchanged, including but not limited to:
 3
             a. Certain USAA General Indemnity Company ‘s (“USAA GIC”) claim
 4
             handling policies, procedures and practices pertaining to first party automobile property
 5
             damage claims
 6
             b. Performance reviews of USAA GIC claims handlers;
 7
             c. USAA GIC Claim Process materials related to various claim handling
 8
             activities AND
 9
             d. Documents concerning performance based compensation, incentive based
10
             pay, profit sharing and/or pay for performance for claims handlers.
11
             3.       SCOPE
12
             The protections conferred by this agreement cover not only confidential material (as
13
     defined above), but also (1) any information copied or extracted from confidential material; (2) all
14 copies, excerpts, summaries, or compilations of confidential material; and (3) any testimony,

15 conversations, or presentations by parties or their counsel that might reveal confidential material.

16           However, the protections conferred by this agreement do not cover information that is in

     the public domain or becomes part of the public domain through trial or otherwise.
17
     4.      ACCESS TO AND USE OF CONFIDENTIAL MATERIAL
18
             4.1      Basic Principles. A receiving party may use confidential material that is disclosed
19
     or produced by another party or by a non-party in connection with this case only for prosecuting,
20 defending, or attempting to settle this litigation. Confidential material may be disclosed only to the

21 categories of persons and under the conditions described in this agreement. Confidential material

22 must be stored and maintained by a receiving party at a location and in a secure manner that ensures

23 that access is limited to the persons authorized under this agreement.

     PROTECTIVE ORDER – 2                                                  FORSBERG & UMLAUF, P.S.
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             Case 2:24-cv-01798-MJP                Document 15        Filed 02/24/25       Page 3 of 10



 1           4.2      Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise ordered

 2 by the court or permitted in writing by the designating party, a receiving party may disclose any
     confidential material only to:
 3
                      (a)         the receiving party’s counsel of record in this action, as well as employees
 4
     of counsel to whom it is reasonably necessary to disclose the information for this litigation;
 5
                      (b)         the officers, directors, and employees (including in house counsel) of the
 6 receiving party to whom disclosure is reasonably necessary for this litigation, unless the parties

 7 agree that a particular document or material produced is for Attorney’s Eyes Only and is so

 8 designated;

 9                    (c)         experts and consultants to whom disclosure is reasonably necessary for this

     litigation and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
10
                      (d)         the court, court personnel, and court reporters and their staff;
11
                      (e)         copy or imaging services retained by counsel to assist in the duplication of
12
     confidential material, provided that counsel for the party retaining the copy or imaging service
13 instructs the service not to disclose any confidential material to third parties and to immediately

14 return all originals and copies of any confidential material;

15                    (f)         during their depositions, witnesses in the action to whom disclosure is

     reasonably necessary and who have signed the “Acknowledgment and Agreement to Be Bound”
16
     (Exhibit A), unless otherwise agreed by the designating party or ordered by the court. Pages of
17
     transcribed deposition testimony or exhibits to depositions that reveal confidential material must
18
     be separately bound by the court reporter and may not be disclosed to anyone except as permitted
19
     under this agreement;
20                    (g)         the author or recipient of a document containing the information or a

21 custodian or other person who otherwise possessed or knew the information.

22           4.3      Filing Confidential Material. Before filing confidential material or discussing or

     referencing such material in court filings, the filing party shall confer with the designating party,
23

     PROTECTIVE ORDER – 3                                                        FORSBERG & UMLAUF, P.S.
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             Case 2:24-cv-01798-MJP           Document 15        Filed 02/24/25        Page 4 of 10



 1 in accordance with Local Civil Rule 5(g)(3)(A), to determine whether the designating party will

 2 remove the confidential designation, whether the document can be redacted, or whether a motion
     to seal or stipulation and proposed order is warranted. During the meet and confer process, the
 3
     designating party must identify the basis for sealing the specific confidential information at issue,
 4
     and the filing party shall include this basis in its motion to seal, along with any objection to sealing
 5
     the information at issue. Local Civil Rule 5(g) sets forth the procedures that must be followed and
 6 the standards that will be applied when a party seeks permission from the court to file material

 7 under seal. A party who seeks to maintain the confidentiality of its information must satisfy the

 8 requirements of Local Civil Rule 5(g)(3)(B), even if it is not the party filing the motion to seal.

 9 Failure to satisfy this requirement will result in the motion to seal being denied, in accordance with
     the strong presumption of public access to the Court’s files.
10
     5.      DESIGNATING PROTECTED MATERIAL
11
             5.1      Exercise of Restraint and Care in Designating Material for Protection. Each party
12
     or non-party that designates information or items for protection under this agreement must take
13 care to limit any such designation to specific material that qualifies under the appropriate

14 standards. The designating party must designate for protection only those parts of material,

15 documents, items, or oral or written communications that qualify, so that other portions of the
     material, documents, items, or communications for which protection is not warranted are not swept
16
     unjustifiably within the ambit of this agreement.
17
             Mass, indiscriminate, or routinized designations are prohibited. Designations that are
18
     shown to be clearly unjustified or that have been made for an improper purpose (e.g., to
19
     unnecessarily encumber or delay the case development process or to impose unnecessary expenses
20 and burdens on other parties) expose the designating party to sanctions.

21           If it comes to a designating party’s attention that information or items that it designated for

22 protection do not qualify for protection, the designating party must promptly notify all other parties
     that it is withdrawing the mistaken designation.
23

     PROTECTIVE ORDER – 4                                                    FORSBERG & UMLAUF, P.S.
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             Case 2:24-cv-01798-MJP               Document 15       Filed 02/24/25       Page 5 of 10



 1           5.2      Manner and Timing of Designations. Except as otherwise provided in this

 2 agreement (see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or
     ordered, disclosure or discovery material that qualifies for protection under this agreement must
 3
     be clearly so designated before or when the material is disclosed or produced.
 4
                      (a)         Information in documentary form: (e.g., paper or electronic documents and
 5
     deposition exhibits, but excluding transcripts of depositions or other pretrial or trial proceedings),
 6 the designating party must affix the word “CONFIDENTIAL” to each page that contains

 7 confidential material. If only a portion or portions of the material on a page qualifies for protection,

 8 the producing party also must clearly identify the protected portion(s) (e.g., by making appropriate

 9 markings in the margins).
                      (b)         Testimony given in deposition or in other pretrial proceedings: the parties
10
     and any participating non-parties must identify on the record, during the deposition or other pretrial
11
     proceeding, all protected testimony, without prejudice to their right to so designate other testimony
12
     after reviewing the transcript. Any party or non-party may, within fifteen days after receiving the
13 transcript of the deposition or other pretrial proceeding, designate portions of the transcript, or

14 exhibits thereto, as confidential. If a party or non-party desires to protect confidential information

15 at trial, the issue should be addressed during the pre-trial conference.
                      (c)         Other tangible items: the producing party must affix in a prominent place
16
     on the exterior of the container or containers in which the information or item is stored the word
17
     “CONFIDENTIAL.” If only a portion or portions of the information or item warrant protection,
18
     the producing party, to the extent practicable, shall identify the protected portion(s).
19
             5.3      Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to
20 designate qualified information or items does not, standing alone, waive the designating party’s

21 right to secure protection under this agreement for such material. Upon timely correction of a

22 designation, the receiving party must make reasonable efforts to ensure that the material is treated
     in accordance with the provisions of this agreement.
23

     PROTECTIVE ORDER – 5                                                      FORSBERG & UMLAUF, P.S.
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             Case 2:24-cv-01798-MJP          Document 15        Filed 02/24/25        Page 6 of 10



 1 6.        CHALLENGING CONFIDENTIALITY DESIGNATIONS

 2           6.1      Timing of Challenges. Any party or non-party may challenge a designation of

     confidentiality at any time. Unless a prompt challenge to a designating party’s confidentiality
 3
     designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic
 4
     burdens, or a significant disruption or delay of the litigation, a party does not waive its right to
 5
     challenge a confidentiality designation by electing not to mount a challenge promptly after the
 6 original designation is disclosed.

 7           6.2      Meet and Confer. The parties must make every attempt to resolve any dispute

 8 regarding confidential designations without court involvement. Any motion regarding confidential

 9 designations or for a protective order must include a certification, in the motion or in a declaration
     or affidavit, that the movant has engaged in a good faith meet and confer conference with other
10
     affected parties in an effort to resolve the dispute without court action. The certification must list
11
     the date, manner, and participants to the conference. A good faith effort to confer requires a face-
12
     to-face meeting or a telephone conference.
13           6.3      Judicial Intervention. If the parties cannot resolve a challenge without court
14 intervention, the designating party may file and serve a motion to retain confidentiality under Local

15 Civil Rule 7 (and in compliance with Local Civil Rule 5(g), if applicable). The burden of
     persuasion in any such motion shall be on the designating party. Frivolous challenges, and those
16
     made for an improper purpose (e.g., to harass or impose unnecessary expenses and burdens on
17
     other parties) may expose the challenging party to sanctions. All parties shall continue to maintain
18
     the material in question as confidential until the court rules on the challenge.
19
     7.      PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER
20 LITIGATION

21           If a party is served with a subpoena or a court order issued in other litigation that compels

22 disclosure of any information or items designated in this action as “CONFIDENTIAL,” that party
     must:
23

     PROTECTIVE ORDER – 6                                                  FORSBERG & UMLAUF, P.S.
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             Case 2:24-cv-01798-MJP               Document 15       Filed 02/24/25       Page 7 of 10



 1                    (a)         promptly notify the designating party in writing and include a copy of the

 2 subpoena or court order;
                      (b)         promptly notify in writing the party who caused the subpoena or order to
 3
     issue in the other litigation that some or all of the material covered by the subpoena or order is
 4
     subject to this agreement. Such notification shall include a copy of this agreement; and
 5
                      (c)         cooperate with respect to all reasonable procedures sought to be pursued by
 6 the designating party whose confidential material may be affected.

 7 8.        UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

 8           If a receiving party learns that, by inadvertence or otherwise, it has disclosed confidential

 9 material to any person or in any circumstance not authorized under this agreement, the receiving
     party must immediately (a) notify in writing the designating party of the unauthorized disclosures,
10
     (b) use its best efforts to retrieve all unauthorized copies of the protected material, (c) inform the
11
     person or persons to whom unauthorized disclosures were made of all the terms of this agreement,
12
     and (d) request that such person or persons execute the “Acknowledgment and Agreement to Be
13 Bound” that is attached hereto as Exhibit A.

14 9.        INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED

15 MATERIAL
             When a producing party gives notice to receiving parties that certain inadvertently
16
     produced material is subject to a claim of privilege or other protection, the obligations of the
17
     receiving parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). This provision
18
     is not intended to modify whatever procedure may be established in an e-discovery order or
19
     agreement that provides for production without prior privilege review. The parties agree to the
20 entry of a non-waiver order under Fed. R. Evid. 502(d) as set forth herein.

21 10.       NON TERMINATION AND RETURN OF DOCUMENTS

22

23

     PROTECTIVE ORDER – 7                                                      FORSBERG & UMLAUF, P.S.
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             Case 2:24-cv-01798-MJP         Document 15        Filed 02/24/25       Page 8 of 10



 1           Within 60 days after the termination of this action, including all appeals, each receiving

 2 party must return all confidential material to the producing party, including all copies, extracts and
     summaries thereof. Alternatively, the parties may agree upon appropriate methods of destruction.
 3
             Notwithstanding this provision, counsel are entitled to retain one archival copy of all
 4
     documents filed with the court, trial, deposition, and hearing transcripts, correspondence,
 5
     deposition and trial exhibits, expert reports, attorney work product, and consultant and expert work
 6 product, even if such materials contain confidential material.

 7           The confidentiality obligations imposed by this agreement shall remain in effect until a

 8 designating party agrees otherwise in writing or a court orders otherwise.

 9                     IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

10
                                                          NICK MAJOR LAW PLLC
11
     DATED: February 14, 2025                             s/Nicholas R. Major
12                                                        Nicholas R. Major, WSBA #49579
                                                          450 Alaska Way S., Suite 200
13                                                        Seattle, WA 98104
                                                          206-410-5688
14                                                        nick@nickmajorlaw.com
                                                          Attorney for Plaintiff
15

16
                                                          FORSBERG & UMLAUF, P.S.
17
     DATED: February 14, 2025                             s/Rishabh R. Agny
18                                                        Kimberly A. Reppart, WSBA #30643
                                                          Rishabh R. Agny, WSBA #49721
19                                                        401 Union Street, Suite 1400
                                                          Seattle, WA 98101
20                                                        206-689-8500
                                                          kreppart@foum.law
21                                                        ragny@foum.law
                                                          Attorneys for Defendant
22

23

     PROTECTIVE ORDER – 8                                                 FORSBERG & UMLAUF, P.S.
     Case No. 2:24-cv-01798-MJP                                                   ATTORNEYS AT LAW
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              Case 2:24-cv-01798-MJP        Document 15        Filed 02/24/25       Page 9 of 10



 1            PURSUANT TO STIPULATION, IT IS SO ORDERED. The Court has removed the

 2 words “including but not limited to” from Section 2, as this language improperly expands the scope
     of the Agreement and injects uncertainty. See Model Stipulated Protective Order at 2 (stating that
 3
     “the parties must include a list of specific documents”). The text is noted above with strikethrough
 4
     added.
 5
              IT IS FURTHER ORDERED that pursuant to Fed. R. Evid. 502(d), the production of any
 6 documents in this proceeding shall not, for the purposes of this proceeding or any other federal or

 7 state proceeding, constitute a waiver by the producing party of any privilege applicable to those

 8 documents, including the attorney-client privilege, attorney work-product protection, or any other

 9 privilege or protection recognized by law.

10
     DATED: February 24, 2025
11

12

13                                                        A
                                                          Marsha J. Pechman
14                                                        United States Senior District Judge

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     PROTECTIVE ORDER – 9                                                 FORSBERG & UMLAUF, P.S.
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             Case 2:24-cv-01798-MJP        Document 15        Filed 02/24/25       Page 10 of 10



 1                                              EXHIBIT A

 2
                        ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3           I,   ____________________________________           [print   or   type      full    name],          of
 4 ____________________________________ [print or type full address], declare under penalty of

 5 perjury that I have read in its entirety and understand the Stipulated Protective Order that was
     issued by the United States District Court for the Western District of Washington on [date] in the
 6
     case of ________________ [insert formal name of the case and the number and initials
 7
     assigned to it by the court]. I agree to comply with and to be bound by all the terms of this
 8
     Stipulated Protective Order and I understand and acknowledge that failure to so comply could
 9
     expose me to sanctions and punishment in the nature of contempt. I solemnly promise that I will
10 not disclose in any manner any information or item that is subject to this Stipulated Protective

11 Order to any person or entity except in strict compliance with the provisions of this Order.

12           I further agree to submit to the jurisdiction of the United States District Court for the

     Western District of Washington for the purpose of enforcing the terms of this Stipulated Protective
13
     Order, even if such enforcement proceedings occur after termination of this action.
14
     Date:
15
     City and State where sworn and signed:
16 Printed name:

17 Signature:

18

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     PROTECTIVE ORDER – 10                                                FORSBERG & UMLAUF, P.S.
     Case No. 2:24-cv-01798-MJP                                                   ATTORNEYS AT LAW
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